Case 1:05-cr-00031-WTH-GRJ   Document 31   Filed 08/31/05   Page 1 of 7
Case 1:05-cr-00031-WTH-GRJ   Document 31   Filed 08/31/05   Page 2 of 7
Case 1:05-cr-00031-WTH-GRJ   Document 31   Filed 08/31/05   Page 3 of 7
Case 1:05-cr-00031-WTH-GRJ   Document 31   Filed 08/31/05   Page 4 of 7
Case 1:05-cr-00031-WTH-GRJ   Document 31   Filed 08/31/05   Page 5 of 7
Case 1:05-cr-00031-WTH-GRJ   Document 31   Filed 08/31/05   Page 6 of 7
Case 1:05-cr-00031-WTH-GRJ   Document 31   Filed 08/31/05   Page 7 of 7
